           Case 1:20-cv-00279-JPC Document 21 Filed 10/19/20 Page 1 of 2


UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X              10/19/2020
                                                                       :
7 WEST 21 LI LLC,                                                      :
                                                                       :
                                    Plaintiff,                         :
                                                                       :   20-CV-279 (JPC)
                  -v-                                                  :
                                                                       :     NOTICE OF
CLEMENT MOSSERI,                                                       :   REASSIGNMENT
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        This case has been reassigned to the undersigned for all purposes. Unless and until the

Court orders otherwise, all prior orders, dates, and deadlines shall remain in effect notwithstanding

the case’s reassignment. All parties must familiarize themselves with the Court’s Individual

Rules, including the Court’s Individual Rules and Practices for Pro Se Litigants (that is,

litigants without counsel), which are available at https://www.nysd.uscourts.gov/hon-john-p-

cronan. Pursuant to the Honorable John G. Koeltl’s Order dated August 19, 2020 (Dkt. 20),

Plaintiff must file a motion to remand by October 30, 2020. Defendant must respond by November

13, 2020. Plaintiff may reply by November 23, 2020.

        In accordance with the Court’s Individual Rules and Practices, requests for extensions or

adjournment may be made only in writing and must be received at least 48 hours before the

deadline or scheduled appearance, absent compelling circumstances. The written submission must

state (1) the original date(s) set for the appearance or deadline(s) and the new date(s) requested;

(2) the reason(s) for the request; (3) the number of previous requests for adjournment or extension;
          Case 1:20-cv-00279-JPC Document 21 Filed 10/19/20 Page 2 of 2


(4) whether these previous requests were granted or denied; and (5) whether the opposing party

consents, and, if not, the reasons given by opposing counsel for refusing to consent.

       The Clerk of the Court is respectfully directed to mail a copy of this order to the pro se

Defendant.




       SO ORDERED.

Dated: October 19, 2020                             __________________________________
       New York, New York                                    JOHN P. CRONAN
                                                           United States District Judge




                                                2
